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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                                                        CASE NO.:
  HOWARD COHAN,

        Plaintiff,

  vs.                                                   INJUNCTIVE RELIEF SOUGHT

  CROWN LIQUORS X, LLC., a Florida Limited
   Liability Company, d/b/a CROWN LIQUORS
  AND CROWN WINE & SPIRITS; CROWN
  LIQUORS IX, LLC., a Florida Limited Liability
  Company, d/b/a CROWN WINE & SPIRITS; LIQUOR
  MANAGEMENT, LLC., a Florida Limited
  Liability Company, d/b/a CROWN WINE & SPIRITS;
  CROWN LIQUORS III, LLC, a Florida Limited
  Liability Company, d/b/a CROWN WINE & SPIRITS;
  CROWN LIQUORS VII, LLC., a Florida Limited
  Liability Company, d/b/a CROWN WINE & SPIRITS;
  CROWN LIQUORS II, LLC., a Florida Limited Liability
  Company, d/b/a CROWN LIQUORS AND CROWN
  WINE & SPIRITS; CROWN LIQUORS I, LLC.,
  a Florida Limited Liability Company, d/b/a CROWN
  LIQUORS AND CROWN WINE & SPIRITS,

        Defendant(s).
  __________________________________________/

                                      COMPLAINT

        Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues CROWN LIQUORS X, LLC., a Florida Limited Liability

  Company, d/b/a CROWN LIQUORS AND CROWN WINE & SIPIRITS; CROWN LIQUORS

  IX, LLC., a Florida Limited Liability Company, d/b/a CROWN WINE & SPIRITS; LIQUOR

  MANAGEMENT, LLC., a Florida Limited Liability Company, d/b/a CROWN WINE &

  SPIRITS; CROWN LIQUORS III, LLC, a Florida Limited Liability Company d/b/a CROWN

  WINE & SPIRITS; CROWN LIQUORS VII, LLC., a Florida Limited Liability Company, d/b/a



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  CROWN WINE & SPIRITS; CROWN LIQUORS II, LLC., a Florida Limited Liability Company,

  d/b/a CROWN LIQUORS AND CROWN WINE & SPIRITS; CROWN LIQUORS I, LLC., a

  Florida Limited Liability Company, d/b/a CROWN LIQUORS AND CROWN WINE & SPIRITS,

  (collectively “Defendants”), for declaratory and injunctive relief, attorneys’ fees, expenses and

  costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. § 12182 et.

  seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:

                                  JURISDICTION AND VENUE

         1.      This is a complaint for breach of contract and injunctive relief seeking enforcement

  of the Settlement Agreement and General Release (copy attached as Exhibit A) and the Addendum

  to Settlement Agreement and Release (copy attached as Exhibit B) reached in the cases of

  HOWARD COHAN v. CROWN LIQUORS X, LLC.; CROWN LIQUORS IX, LLC.; LIQUOR

  MANAGEMENT, LLC.; CROWN LIQUORS VII, LLC.; CROWN LIQUORS II, LLC.; and

  CROWN LIQUORS I, LLC., Case No. 9:17-CV-80905-RLR (S.D. Fla.) (dismissed by order upon

  settlement) and Case No.: 9:18-CV-81577-RLR (S.D. Fla) (dismissed by order upon settlement),

  which arose out of Plaintiff’s claim of discrimination caused by certain barriers encountered by

  Plaintiff on Defendants’ properties that prevented Plaintiff from the full and equal enjoyment of a

  place of public accommodation in violation of Title III of the Americans with Disabilities Act.

         2.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendants’ violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

         3.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court for the Southern




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  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                  PARTIES

          4.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          5.      Upon information and belief, Defendants are the lessees, operators, owners and

  lessors of the Real Property, which is subject to this suit, located at the following addresses: 532

  S.E. 15th Avenue, Boynton Beach, FL 33435; 757 S. Federal Highway, Boca Raton, FL 33432;

  306 S. Federal Highway, Deerfield Beach, FL 33441; 3500 N. Federal Highway, Boca Raton, FL

  33431; 1320 N. Federal Highway, Pompano Beach, FL 33060; and 1030 N.E. 15th Avenue, Ft.

  Lauderdale, FL 33304 (collectively “Premises”), and are the owners of the improvements where

  Premises are located.

          6.      Defendants are authorized to conduct, and are in fact conducting, business within

  the state of Florida.

          7.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. As such,

  Plaintiff suffered from a “qualified disability” under the ADA. 42 U.S.C § 12101, et seq.

          8.      Plaintiff visited Defendants’ Premises on the following dates:




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               a. 532 S.E. 15th Ave, Boynton Beach, FL 33435 – September 11, 2018 and October

                  23, 2018;

               b. 757 S. Federal Hwy, Boca Raton, FL 33432 – September 11, 2018 and October 22,

                  2018;

               c. 306 S. Federal Hwy, Deerfield Beach, FL 33441 – September 11, 2018, September

                  20, 2018, and October 22, 2018;

               d. 3500 N. Federal Hwy, Boca Raton, FL 33431 – September 11, 2018 and October

                  23, 2018;

               e. 1320 N. Federal Hwy, Pompano Beach, FL 33060 – September 11, 2018 and

                  October 22, 2018; and

               f. 1030 N.E. 15th Ave, Ft. Lauderdale, FL 33304 – September 20, 2018 and October

                  22, 2018.

         9.       At the time of Plaintiff’s visits to the Premises, Plaintiff required the use of fully

  accessible restrooms and fully accessible paths of travel throughout the facility. Plaintiff personally

  visited the Premises, but was denied full and equal access and full and equal enjoyment of the

  facilities, services, goods, and amenities within the Premises, even though he was a “bona fide

  patron”.

         10.      Defendants’ Premises constitute a public accommodation as defined by Title III of

  the ADA and, as such, are governed by the ADA.

         11.      On or about August 1, 2017, Plaintiff filed a lawsuit against Defendants seeking to

  force Defendants to comply with the ADA and applicable regulations thereto. See HOWARD

  COHAN v. CROWN LIQUORS X, LLC.; CROWN LIQUORS IX, LLC.; LIQUOR




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  MANAGEMENT, LLC.; CROWN LIQUORS VII, LLC.; CROWN LIQUORS II, LLC.; and

  CROWN LIQUORS I, LLC., Case No. 9:17-CV-80905-RLR (S.D. Fla.).

         12.     On or about October 10, 2017, the parties entered into a Settlement Agreement and

  General Release. (Exhibit A).

         13.     Thereafter, on October 12, 2017, Plaintiff’s suit was dismissed upon notice to the

  U.S. District Court that the parties had settled.

         14.     The Settlement Agreement and General Release required Defendants to complete

  all modifications to the Premises within one (1) year of the signing of said Agreement, or by

  October 10, 2018.

         15.     Defendants failed to complete the modification(s) to the Premises as required by

  the ADA and the Settlement Agreement and General Release, and Defendants had failed to give

  any notice of any reasons or documentation for non-compliance.

         16.     As such, on or about November 15, 2018, Plaintiff filed a lawsuit against

  Defendants seeking to force Defendants to comply with the ADA and applicable regulations

  thereto and the Settlement Agreement and General Release. See HOWARD COHAN v. CROWN

  LIQUORS X, LLC.; CROWN LIQUORS IX, LLC.; LIQUOR MANAGEMENT, LLC.; CROWN

  LIQUORS VII, LLC.; CROWN LIQUORS II, LLC.; and CROWN LIQUORS I, LLC., Case No.

  9:18-CV-81577-RLR (S.D. Fla.).

         17.     On or about January 23, 2019, the parties entered into an Addendum to Settlement

  and Release Agreement (Exhibit B).

         18.     Thereafter, on January 25, 2019, Plaintiff’s suit was dismissed upon notice to the

  U.S. District Court that the parties had settled.




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          19.      The Addendum to Settlement and Release Agreement required Defendants to

  complete all modifications to the Premises within eight (8) months of the signing of said

  Agreement, or by September 28, 2018.

          20.      Defendants have failed to complete the required modification(s) to the Premises as

  required by the ADA and the Addendum to Settlement Agreement, and Defendants have failed to

  give notice of any reasons or documentation for non-compliance.

          21.      Plaintiff again personally visited Defendants’ Premises on the following dates (and

  prior to instituting this action):

                a. 532 S.E. 15th Ave, Boynton Beach, FL 33435 – August 17, 2020;

                b. 757 S. Federal Hwy, Boca Raton, FL 33432 – November 22, 2019 and February

                   17, 2021;

                c. 306 S. Federal Hwy, Deerfield Beach, FL 33441 – February 17, 2021;

                d. 3500 N. Federal Hwy, Boca Raton, FL 33431 – February 17, 2021;

                e. 1320 N. Federal Hwy, Pompano Beach, FL 33060 – February 3, 2020 and February

                   18, 2021 and

                f. 1030 N.E. 15th Ave, Ft. Lauderdale, FL 33304 – August 12, 2020 and February 18,

                   2021.

          22.      Plaintiff required the use of fully accessible restrooms; fully accessible paths of

  travel throughout the facility; and fully accessible and properly marked parking for individuals

  with disabilities. Plaintiff was denied full and equal access and full and equal enjoyment of the

  facilities, services, goods, and amenities within the Premises, even though was “bona fide patron”.




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         23.     Plaintiff, in his individual capacity, has shown that he will absolutely return to the

  Premises and avail himself of the services offered when Defendants modify the Premises or modify

  the policies and practices to accommodate individuals who have physical disabilities.

         24.     Plaintiff is continuously aware of the violations at Defendants’ Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         25.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendants’ discrimination until Defendants are compelled to comply with the

  requirements of the ADA.

         26.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendants’ discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         27.     Completely independent of the personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied




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  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

  and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

  suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set

  forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

  intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         28.      Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendants modify the Premises or modify the policies and practices to accommodate individuals

  who have physical disabilities to confirm said modifications have been completed in accordance

  with the requirements of the ADA.

                                     COUNT I
                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         29.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 28

  above as if fully stated herein.

         30.      On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

         31.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;



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               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,

                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and accosts

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         32.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;




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                 b. provide clear, strong, consistent, enforceable standards addressing discrimination

                    against individuals with disabilities; and

                 c. invoke the sweep of congressional authority, including the power to enforce the

                    fourteenth amendment and to regulate commerce, in order to address the major

                    areas of discrimination faced on a daily basis by people with disabilities.

   U.S.C. § 12101(b)(1)(2) and (4).

           33.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

   Defendants’ Premises are places of public accommodation covered by the ADA by the fact they

   provide services to the general public and must be in compliance therewith.

           34.      Defendants have discriminated and continue to discriminate against Plaintiff and

   others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

   services, facilities, privileges, advantages and/or accommodations located at the Premises, as

   prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

   architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

           35.      Plaintiff has visited the Premises and has been denied full and safe equal access to

   the facilities and therefore suffered an injury in fact.

           36.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

   spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

   Defendants’ failure and refusal to provide disabled persons with full and equal access to their

   facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

   architectural barriers that are in violation of the ADA.

           37.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

   of Justice, Office of the Attorney General promulgated Federal Regulations to implement the




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   requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

   Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

   Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

   for and subsequent violation.

           38.      Based on a preliminary inspection of the Premises, Defendants are in violation of

   42 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and are

   discriminating against Plaintiff as a result of, inter alia, the following specific violations:

           I.       Premises at 532 S.E. 15th Avenue, Boynton Beach, FL 33435

           Men’s Restroom

                 a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                    exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                    404, 404.1, 404.2, 404.2.9 and 309.4.

                 b. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                    a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                    404.2.4 and 404.2.4.1.

                 c. Failure to provide sufficient clear floor space around a water closet without any

                    obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                    603.2.3, 604, 604.3 and 604.3.1.

                 d. Failure to provide the proper insulation or protection for plumbing or other sharp

                    or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                    and 606.5.




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               e. Failure to provide toilet paper dispensers in the proper position in front of the water

                  closet or at the correct height above the finished floor in violation of 2010 ADAAG

                  §§ 604, 604.7 and 309.4.

               f. Failure to provide the proper spacing between a grab bar and an object projecting

                  out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.

               g. Providing grab bars of improper horizontal length or spacing as required along the

                  rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

               h. Failure to provide a coat hook within the proper reach ranges for a person with a

                  disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

               i. Failure to provide mirror(s) located above lavatories or countertops at the proper

                  height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

               j. Failure to provide paper towel dispenser at the correct height above the finished

                  floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

         II.      Premises at 757 S. Federal Highway, Boca Raton, FL 33432

         Unisex Restroom

               a. Failure to provide the proper insulation or protection for plumbing or other sharp

                  or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                  and 606.5.

               b. Failure to provide sufficient clear floor space around a water closet without any

                  obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                  603.2.3, 604, 604.3 and 604.3.1.




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          III.      Premises at 306 S. Federal Highway, Deerfield Beach, FL 334411

          Men’s Restroom

                 a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                    exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                    404, 404.1, 404.2, 404.2.9 and 309.4.

                 b. Failure to provide operable parts that are functional or are in the proper reach ranges

                    as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                    309.1, 309.3, 309.4 and 308.

                 c. Failure to provide sufficient clear floor space around a water closet without any

                    obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                    603.2.3, 604, 604.3 and 604.3.1.

                 d. Failure to provide the proper insulation or protection for plumbing or other sharp

                    or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                    and 606.5.

                 e. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

                    609.4, 609.1 and 609.3.

                 f. Failure to provide toilet paper dispensers in the proper position in front of the water

                    closet or at the correct height above the finished floor in violation of 2010 ADAAG

                    §§ 604, 604.7 and 309.4.




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     Plaintiff was denied access to this restroom on his most recent visit to the premises. The following
   are the violations that existed on prior visits and are based on the premise that Defendant’s failure
   to provide an accessible restroom for use by the public clearly means that Defendant did not
   address these barriers.


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               g. Failure to provide mirror(s) located above lavatories or countertops at the proper

                  height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

               h. Failure to provide soap dispenser at the correct height above the finished floor in

                  violation of 2010 ADAAG §§ 606, 606.1 and 308.

               i. Failure to provide the water closet in the proper position relative to the side wall or

                  partition in violation of 2010 ADAAG §§ 604 and 604.2.

               j. Failure to provide flush controls located on the open side of the water closet in

                  violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

               k. Failure to provide proper signage for an accessible restroom or failure to redirect a

                  person with a disability to the closest available accessible restroom facility in

                  violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                  703.5 and 703.7.2.1.

         Pathway to Restroom

               l. Providing pathways and or aisles that are too narrow in violation of 2010 ADAAG

                  §§ 403, 403.1 and 403.5.1.

               m. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                  a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                  404.2.4 and 404.2.4.1.

         IV.      Premises at 3500 N. Federal Highway, Boca Raton, FL 33431

         Men’s Restroom

               a. Failure to provide toilet paper dispensers in the proper position in front of the water

                  closet or at the correct height above the finished floor in violation of 2010 ADAAG

                  §§ 604, 604.7 and 309.4.




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              b. Failure to provide paper towel dispenser at the correct height above the finished

                 floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

              c. Failure to provide proper knee clearance for a person with a disability under a

                 counter or sink element in violation of 2010 ADAAG §§ 306, 306.1 306.3, 606 and

                 606.2

         V.      Premises at 1320 N. Federal Highway, Pompano Beach, FL 33060

         Restroom Location

              a. Failure to provide signage directing disabled individuals as to where services are

                 provided on the property for individuals with disabilities pursuant to 2010 ADAAG

                 §§ 216.6.

         Restroom

              b. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                 a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                 404.2.4 and 404.2.4.1.

              c. Failure to provide flush controls located on the open side of the water closet in

                 violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

              d. Failure to provide the water closet in the proper position relative to the side wall or

                 partition in violation of 2010 ADAAG §§ 604 and 604.2.

              e. Failure to provide sufficient clear floor space around a water closet without any

                 obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                 603.2.3, 604, 604.3 and 604.3.1.

              f. Failure to provide the proper spacing between a grab bar and an object projecting

                 out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.




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                g. Failure to provide operable parts that are functional or are in the proper reach ranges

                   as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                   309.1, 309.3, 309.4 and 308.

                h. Failure to provide the proper insulation or protection for plumbing or other sharp

                   or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                   and 606.5.

                i. Failure to provide paper towel dispenser at the correct height above the finished

                   floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

                j. Failure to provide mirror(s) located above lavatories or countertops at the proper

                   height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

                k. Providing grab bars of improper horizontal length or spacing as required along the

                   rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

                l. Failure to provide toilet paper dispensers in the proper position in front of the water

                   closet or at the correct height above the finished floor in violation of 2010 ADAAG

                   §§ 604, 604.7 and 309.4.

          Pathway to Restroom

                m. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                   a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                   404.2.4 and 404.2.4.1.

          VI.      Premises at 1030 N.E. 15th Avenue, Ft. Lauderdale, FL 333042




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     Plaintiff was denied access to this restroom on his most recent visit to the premises. The following
   are the violations that existed on prior visits and are based on the premise that Defendant’s failure
   to provide an accessible restroom for use by the public clearly means that Defendant did not
   address these barriers.


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         Men’s Restroom

            a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

               exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

               404, 404.1, 404.2, 404.2.9 and 309.4.

            b. Failure to provide operable parts that are functional or are in the proper reach ranges

               as required for a person with a disability in violation of 2010 ADAAG §§ 309,

               309.1, 309.3, 309.4 and 308.

            c. Failure to provide sufficient clear floor space around a water closet without any

               obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

               603.2.3, 604, 604.3 and 604.3.1.

            d. Failure to provide the proper insulation or protection for plumbing or other sharp

               or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

               and 606.5.

            e. Failure to provide a urinal designed for a person with a disability where the rim

               height is no more than 17 inches from the finished floor in violation of 2010

               ADAAG §§ 605 and 605.2.

            f. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

               609.4, 609.1 and 609.3.

            g. Providing grab bars of improper horizontal length or spacing as required along the

               rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

            h. Failure to provide a urinal designed for a person with a disability where the

               horizontal projection of the urinal is not at a minimum of 13.5 inches in violation

               of 2010 ADAAG §§ 605 and 605.2.




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                i. Providing a urinal flush control that exceeds 48 inches in height in violation of 2010

                   ADAAG §§ 308, 308.2.1, 309.3, 605 and 605.4.

                j. Failure to provide a coat hook within the proper reach ranges for a person with a

                   disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

                k. Failure to provide mirror(s) located above lavatories or countertops at the proper

                   height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

                l. Failure to provide the water closet in the proper position relative to the side wall or

                   partition in violation of 2010 ADAAG §§ 604 and 604.2.

                m. Failure to provide flush controls located on the open side of the water closet in

                   violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

                n. Failure to provide proper signage for an accessible restroom or failure to redirect a

                   person with a disability to the closest available accessible restroom facility in

                   violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                   703.5 and 703.7.2.1.

          39.      To the best of Plaintiff’s belief and knowledge, Defendants have failed to eliminate

   the specific violations set forth in paragraph 38 herein.

          40.      Although Defendants are charged with having knowledge of the violations,

   Defendants may not have actual knowledge of said violations until this Complaint makes

   Defendants aware of same.

          41.      To date, the readily achievable barriers and other violations of the ADA still exist

   and have not been remedied or altered in such a way as to effectuate compliance with the

   provisions of the ADA.




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          42.     As the owners, lessors, lessees or operators of the Premises, Defendants are

   required to comply with the ADA. To the extent the Premises, or portions thereof, existed and

   were occupied prior to January 26, 1992, the owners, lessors, lessees or operators have been under

   a continuing obligation to remove architectural barriers at the Premises where removal was readily

   achievable, as required by 28 C.F.R. §36.402.

          43.     To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owners, lessors, lessees or operators of the Premises were under an

   obligation to design and construct such Premises such that they are readily accessible to and usable

   by individuals with disabilities, as required by 28 C.F.R. §36.401.

          44.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

   action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

   Defendants, pursuant to 42 U.S.C. § 12205.

          45.     All of the above violations are readily achievable to modify in order to bring

   Premises or the Facility/Property into compliance with the ADA.

          46.     In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

   standard applies and all of the violations listed in paragraph 33 herein can be applied to the 1991

   ADAAG standards.

          47.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Subject Facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff demands judgment against Defendants and requests the following

   injunctive and declaratory relief:




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                1. That this Court declares that Premises owned, operated and/or controlled by

                   Defendants are in violation of the ADA;

                2. That this Court enter an Order requiring Defendants to alter their facilities to make

                   them accessible to and usable by individuals with disabilities to the full extent

                   required by Title III of the ADA;

                3. That this Court enter an Order directing the Defendants to evaluate and neutralize

                   their policies, practices and procedures toward persons with disabilities, for such

                   reasonable time so as to allow the Defendants to undertake and complete corrective

                   procedures to Premises;

                4. That this Court award reasonable attorney’s fees, all costs (including, but not

                   limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;

                   and,

                5. That this Court award such other and further relief as it may deem necessary, just

                   and proper.

                                            COUNT II
                                       BREACH OF CONTRACT

          39.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 28

   above as if fully stated herein.

          40.      On or about August 1, 2017, Plaintiff filed a lawsuit against Defendants seeking to

   force Defendants to comply with the ADA and applicable regulations thereto. See HOWARD

   COHAN v. CROWN LIQUORS X, LLC.; CROWN LIQUORS IX, LLC.; LIQUOR

   MANAGEMENT, LLC.; CROWN LIQUORS VII, LLC.; CROWN LIQUORS II, LLC.; and

   CROWN LIQUORS I, LLC., Case No. 9:17-CV-80905-RLR (S.D. Fla.).




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          41.     On or about October 10, 2017, the parties entered into a Settlement Agreement and

   General Release [Exhibit A].

          42.     Thereafter, on October 12, 2017, Plaintiff’s suit was dismissed upon notice to the

   U.S. District Court that the parties had settled.

          43.     The Settlement Agreement and General Release required Defendants to complete

   all modifications to the Premises within one (1) year of the signing of said Agreement, or by

   October 10, 2018.

          44.     Defendants failed to complete the modification(s) to the Premises as required by

   the ADA and the Settlement Agreement and General Release, and Defendants had failed to give

   any notice of any reasons or documentation for non-compliance.

          45.     As such, on or about November 15, 2018, Plaintiff filed a lawsuit against

   Defendants seeking to force Defendants to comply with the ADA and applicable regulations

   thereto and the Settlement Agreement and General Release. See HOWARD COHAN v. CROWN

   LIQUORS X, LLC.; CROWN LIQUORS IX, LLC.; LIQUOR MANAGEMENT, LLC.; CROWN

   LIQUORS VII, LLC.; CROWN LIQUORS II, LLC.; and CROWN LIQUORS I, LLC., Case No.

   9:18-CV-81577-RLR (S.D. Fla.).

          46.     On or about January 23, 2019, Plaintiff and Defendants entered into an Addendum

   to Settlement Agreement [Exhibit B]. Through this addendum to settlement agreement, Defendants

   agreed to make modifications to Defendants’ Premises as outlined in the agreement. The

   Addendum to Settlement Agreement and Release required Defendants to complete all

   modifications to the Premises within eight (8) months of the execution of the agreement, or by

   September 28, 2019.




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          47.      Plaintiff has performed all conditions precedent to be performed by him under the

   Agreement.

          48.      Since September 28, 2019, Defendants have failed to complete the modifications

   promised in the addendum to settlement agreement. Specifically, Defendants have failed to address

   the following violations:

          I.       Premises at 532 S.E. 15th Avenue, Boynton Beach, FL 33435

          Men’s Restroom

                a. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                   a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                   404.2.4 and 404.2.4.1.

                b. Failure to provide sufficient clear floor space around a water closet without any

                   obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                   603.2.3, 604, 604.3 and 604.3.1.

                c. Providing grab bars of improper horizontal length or spacing as required along the

                   rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

          II.      Premises at 757 S. Federal Highway, Boca Raton, FL 33432

                a. Failure to provide the proper insulation or protection for plumbing or other sharp

                   or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                   and 606.5.

                b. Failure to provide sufficient clear floor space around a water closet without any

                   obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                   603.2.3, 604, 604.3 and 604.3.1.




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            III.      Premises at 306 S. Federal Highway, Deerfield Beach, FL 334413

            Men’s Restroom

                   a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                      exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                      404, 404.1, 404.2, 404.2.9 and 309.4.

                   b. Failure to provide operable parts that are functional or are in the proper reach ranges

                      as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                      309.1, 309.3, 309.4 and 308.

                   c. Failure to provide sufficient clear floor space around a water closet without any

                      obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                      603.2.3, 604, 604.3 and 604.3.1.

                   d. Failure to provide the proper insulation or protection for plumbing or other sharp

                      or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                      and 606.5.

                   e. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

                      609.4, 609.1 and 609.3.

                   f. Failure to provide toilet paper dispensers in the proper position in front of the water

                      closet or at the correct height above the finished floor in violation of 2010 ADAAG

                      §§ 604, 604.7 and 309.4.

                   g. Failure to provide mirror(s) located above lavatories or countertops at the proper

                      height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.




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       See Footnote 1


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               h. Failure to provide soap dispenser at the correct height above the finished floor in

                  violation of 2010 ADAAG §§ 606, 606.1 and 308.

               i. Failure to provide the water closet in the proper position relative to the side wall or

                  partition in violation of 2010 ADAAG §§ 604 and 604.2.

               j. Failure to provide flush controls located on the open side of the water closet in

                  violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

         Pathway to Restroom

               k. Failure to provide proper signage for an accessible restroom or failure to redirect a

                  person with a disability to the closest available accessible restroom facility in

                  violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                  703.5 and 703.7.2.1.

               l. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                  a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                  404.2.4 and 404.2.4.1.

               m. Providing pathways and or aisles that are too narrow in violation of 2010 ADAAG

                  §§ 403, 403.1 and 403.5.1.

         IV.      Premises at 3500 N. Federal Highway, Boca Raton, FL 33431

         Men’s Restroom

               a. Failure to provide toilet paper dispensers in the proper position in front of the water

                  closet or at the correct height above the finished floor in violation of 2010 ADAAG

                  §§ 604, 604.7 and 309.4.

               b. Failure to provide paper towel dispenser at the correct height above the finished

                  floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.




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          V.      Premises at 1320 N. Federal Highway, Pompano Beach, FL 33060 4

          Restroom Location

               a. Failure to provide signage directing disabled individuals as to where services are

                  provided on the property for individuals with disabilities pursuant to 2010 ADAAG

                  §§ 216.6.

          Restroom

               b. Failure to provide operable parts that are functional or are in the proper reach ranges

                  as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                  309.1, 309.3, 309.4 and 308.

               c. Failure to provide sufficient clear floor space around a water closet without any

                  obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

                  603.2.3, 604, 604.3 and 604.3.1.

               d. Failure to provide the proper insulation or protection for plumbing or other sharp

                  or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                  and 606.5.

               e. Failure to provide the proper spacing between a grab bar and an object projecting

                  out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3.

               f. Providing grab bars of improper horizontal length or spacing as required along the

                  rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.




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     Plaintiff was denied access to this restroom on his most recent visit to the premises. The following
   are the violations that existed on prior visits and are based on the premise that Defendant’s failure
   to provide an accessible restroom for use by the public clearly means that Defendant did not
   address these barriers.


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                  g. Failure to provide toilet paper dispensers in the proper position in front of the water

                     closet or at the correct height above the finished floor in violation of 2010 ADAAG

                     §§ 604, 604.7 and 309.4.

                  h. Failure to provide mirror(s) located above lavatories or countertops at the proper

                     height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.

                  i. Failure to provide paper towel dispenser at the correct height above the finished

                     floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

                  j. Failure to provide the water closet in the proper position relative to the side wall or

                     partition in violation of 2010 ADAAG §§ 604 and 604.2.

                  k. Failure to provide proper signage for an accessible restroom or failure to redirect a

                     person with a disability to the closest available accessible restroom facility in

                     violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                     703.5 and 703.7.2.1.

            VI.      Premises at 1030 N.E. 15th Avenue, Ft. Lauderdale, FL 333045

            Restroom

                  a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                     exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                     404, 404.1, 404.2, 404.2.9 and 309.4.

                  b. Failure to provide operable parts that are functional or are in the proper reach ranges

                     as required for a person with a disability in violation of 2010 ADAAG §§ 309,

                     309.1, 309.3, 309.4 and 308.




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       See Footnote 2


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            c. Failure to provide sufficient clear floor space around a water closet without any

               obstructing elements in this space in violation of 2010 ADAAG §§4.22.3, 603,

               603.2.3, 604, 604.3 and 604.3.1.

            d. Failure to provide the proper insulation or protection for plumbing or other sharp

               or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

               and 606.5.

            e. Failure to provide a urinal designed for a person with a disability where the rim

               height is no more than 17 inches from the finished floor in violation of 2010

               ADAAG §§ 605 and 605.2.

            f. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604, 604.5, 609,

               609.4, 609.1 and 609.3.

            g. Providing grab bars of improper horizontal length or spacing as required along the

               rear or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

            h. Failure to provide a urinal designed for a person with a disability where the

               horizontal projection of the urinal is not at a minimum of 13.5 inches in violation

               of 2010 ADAAG §§ 605 and 605.2.

            i. Providing a urinal flush control that exceeds 48 inches in height in violation of 2010

               ADAAG §§ 308, 308.2.1, 309.3, 605 and 605.4.

            j. Failure to provide a coat hook within the proper reach ranges for a person with a

               disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

            k. Failure to provide mirror(s) located above lavatories or countertops at the proper

               height above the finished floor in violation of 2010 ADAAG §§ 603 and 603.3.




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                l. Failure to provide the water closet in the proper position relative to the side wall or

                   partition in violation of 2010 ADAAG §§ 604 and 604.2.

                m. Failure to provide flush controls located on the open side of the water closet in

                   violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

                n. Failure to provide proper signage for an accessible restroom or failure to redirect a

                   person with a disability to the closest available accessible restroom facility in

                   violation of 2010 ADAAG §§ 216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                   703.5 and 703.7.2.1.

          49.      Plaintiff has been damaged by the Defendants’ breach of the addendum to

   settlement agreement. Specifically, Plaintiff has had to retain the services of the undersigned

   attorney to pursue this action for breach of contract.

          WHEREFORE, Plaintiff demands judgment against Defendants and requests the following

   injunctive and declaratory relief:

                1. That this Court declares that Defendants have failed to comply with the Addendum

                   to Settlement Agreement and Release;

                2. That this Court enter an Order requiring Defendants to alter their facilities to make

                   them accessible to and usable by individuals with disabilities to the full extent

                   required by Title III of the ADA;

                3. That this Court award reasonable attorney’s fees, all costs (including, but not

                   limited to the court costs and expert fees) and other expenses of suit to the Plaintiff

                   and as provided in the Addendum to Settlement Agreement and Release; and,

                4. That this Court award such other and further relief as it may deem necessary, just

                   and proper.




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         Dated June 18, 2021.

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